                                                             Case 2:20-cv-04727-RGK-SK Document 25-1 Filed 07/10/20 Page 1 of 14 Page ID #:135



                                                                       1 Jeffrey B. Maltzman, CA Bar No. 131758
                                                                           Edgar R. Nield, CA Bar No. 135018
                                                                       2 Gabrielle De Santis Nield, CA Bar No. 110930
                                                                           Rafaela P. Castells, CA Bar No. 290828
                                                                       3 MALTZMAN & PARTNERS, P.A.
                                                                           681 Encinitas Boulevard, Suite 315
                                                                       4 Encinitas, CA 92024
                                                                           Telephone: (760) 942-9880
                                                                       5 Facsimile: (760) 942-9882
                                                                           jeffreym@maltzmanpartners.com
                                                                       6 edn@maltzmanpartners.com
                                                                           gabn@maltzmanpartners.com
                                                                       7 rafaelac@maltzmanpartners.com

                                                                       8 Attorneys for Defendant, PRINCESS CRUISE LINES, LTD.

                                                                       9

                                                                      10                        UNITED STATES DISTRICT COURT
MALTZMAN & PARTNERS




                                                                      11                      CENTRAL DISTRICT OF CALIFORNIA
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                      12 EVA YUK WAH MA WONG,                       CASE NO.: 2:20-CV-04727-RGK-SK
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                         individually and as personal
                                                                      13 representative of the ESTATE OF
                                   ENCINITAS, CA 92024




                                                                                                                    DEFENDANT PRINCESS CRUISE
                                                                      14 RONALD WONG, BENJAMIN                      LINES, LTD.’S NOTICE OF MOTION
                                                                         WONG, individually, and the                AND MOTION TO DISMISS
                                                                      15 ESTATE OF RONALD WONG,                     PLAINTIFFS’ COMPLAINT
                                                                      16               Plaintiff,                   Date: August 31, 2020
                                                                      17
                                                                           vs.                                      Time: 9:00 a.m.
                                                                                                                    Judge: Hon. R. Gary Klausner
                                                                      18 CARNIVAL     CORPORATION &                 Courtroom: 850
                                                                         PLC, a Bermuda Corporation, and
                                                                      19 PRINCESS CRUISE LINES, LTD.,               Magistrate: Hon. Steve Kim
                                                                         CARNIVAL CORP., a Bermuda                  Filed: 05/28/2020
                                                                      20 Corporation,

                                                                      21
                                                                                       Defendants.
                                                                      22

                                                                      23

                                                                      24

                                                                      25

                                                                      26
                                                                      27

                                                                      28


                                                                           DEFENDANT’S MOTION TO DISMISS                                 2:20-CV-04727-RGK-SK
                                                             Case 2:20-cv-04727-RGK-SK Document 25-1 Filed 07/10/20 Page 2 of 14 Page ID #:136



                                                                       1                                        TABLE OF CONTENTS
                                                                       2 I.      INTRODUCTION ............................................................................................. 1
                                                                       3 II.     LEGAL STANDARD ....................................................................................... 2
                                                                       4 III.    MEMORANDUM OF LAW ............................................................................ 2
                                                                       5         A.      Federal Maritime Law Applies to Plaintiffs’ Claims.............................. 2
                                                                       6         B.      The Complaint Violates Rule 8(a) .......................................................... 3
                                                                       7         C.      Plaintiffs Have Not Alleged Sufficient Facts to Establish
                                                                                         Standing to Bring a Wrongful Death Claim ........................................... 6
                                                                       8
                                                                                 D.      Plaintiffs Lack Standing to Seek Injunctive Relief ................................. 8
                                                                       9
                                                                           V.    CONCLUSION ............................................................................................... 10
                                                                      10
MALTZMAN & PARTNERS




                                                                      11
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                      12
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13
                                   ENCINITAS, CA 92024




                                                                      14

                                                                      15

                                                                      16

                                                                      17

                                                                      18

                                                                      19

                                                                      20

                                                                      21

                                                                      22

                                                                      23

                                                                      24

                                                                      25

                                                                      26
                                                                      27

                                                                      28

                                                                                                                                  i
                                                                           DEFENDANT’S MOTION TO DISMISS                                                         2:20-CV-04727-RGK-SK
                                                             Case 2:20-cv-04727-RGK-SK Document 25-1 Filed 07/10/20 Page 3 of 14 Page ID #:137



                                                                       1                                         TABLE OF AUTHORITIES
                                                                       2                                                 Cases
                                                                       3 Alcabasa v. Korean Air Lines Co., Ltd., 62 F.3d 404 (D.C. Cir. 1995) ...................... 7

                                                                       4 Almarou v. Robbins, 2019 WL 7945592 (C.D. Cal. Nov. 5, 2019) ............................ 8

                                                                       5 Anderson v. District Board of Trustees, 77 F.3d 364 (11th Cir.1996) ........................ 5

                                                                       6 Appalachian Enters., Inc. v. ePayment Solutions, Ltd., 2004 WL 2813121 (S.D.N.Y.
                                                                                   Dec. 8, 2004) ..................................................................................................... 4
                                                                       7
                                                                           Ashcroft v. Iqbal, 556 U.S. 662 (2009).................................................................... 2, 3
                                                                       8
                                                                           Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007).................................................... 2, 3
                                                                       9
                                                                           Bodden v. American Offshore, Inc., 681 F.2d 319 (5th Cir.1982) .............................. 6
                                                                      10
                                                                           Brigg v. Walker, 171 U.S. 466 (1898) ......................................................................... 7
MALTZMAN & PARTNERS




                                                                      11
                                                                           Byrd v. Guess, 137 F.3d 1126 (9th Cir. 1998) ............................................................. 8
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                      12
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                           Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939 (9th Cir. 2011)........................ 9
                                                                      13
                                   ENCINITAS, CA 92024




                                                                           Clapper v. Amnesty Int’l USA, 568 U.S. 398 (2013)................................................... 9
                                                                      14
                                                                           D’Lil v. Best Western Encina Lodge & Suites, 538 F.3d 1031 (9th Cir. 2008) .......... 8
                                                                      15
                                                                           DeSisto College, Inc. v. Line, 888 F.2d 755 (11th Cir. 1989) ..................................... 4
                                                                      16
                                                                           Destfino v. Kennedy, 2008 WL 4810770 (E.D. Cal. Nov. 3, 2008) ............................ 5
                                                                      17
                                                                           Dunson v. Cordis Corp., 2016 WL 3913666 (N.D. Cal. July 20, 2016) ..................... 5
                                                                      18
                                                                           Estrada v. Caliber Home Loans, Inc., 172 F. Supp. 3d 1108 (C.D. Cal. 2016) ......... 4
                                                                      19
                                                                           Fagbohunge v. Caltrans, 2014 WL 644008 (N.D. Cal. Feb. 19, 2014) ...................... 5
                                                                      20
                                                                           Helman v. Alcoa Global Fasteners, Inc., 843 F. Supp. 2d 1038 (C.D. Cal. 2011) ..... 6
                                                                      21
                                                                           In re Air Crash Disaster Off Coast of Nantucket Island, Massachusetts on October
                                                                      22         31, 1999, 2010 WL 1221401 (E.D.N.Y. Mar. 29, 2010) .................................. 7
                                                                      23 Jerome B. Grubart, Inc. v. Great Lakes Dredge & Dock Co., 513 U.S. 527 (1995) .. 3

                                                                      24 Levay Brown v. AARP, Inc., 2018 WL 5794456 (C.D. Cal. Nov. 2, 2018) ................ 9

                                                                      25 Lujan v. Defs. of Wildlife, 504 U.S. 555 (1992) ...................................................... 8, 9

                                                                      26 Makaron v. GE Sec. Mfg., Inc., 2014 WL 12614468 (C.D. Cal. July 31, 2014) ........ 4
                                                                      27 Markman v. Leoni, 2010 WL 8275829 (C.D. Cal. Nov. 3, 2010) ............................... 4

                                                                      28 Mason v. County of Orange, 251 F.R.D. 562 (C.D.Cal.2008) .................................... 5

                                                                                                                                       ii
                                                                           DEFENDANT’S MOTION TO DISMISS                                                                 2:20-CV-04727-RGK-SK
                                                             Case 2:20-cv-04727-RGK-SK Document 25-1 Filed 07/10/20 Page 4 of 14 Page ID #:138



                                                                       1 Min Sook Shin v. Umeken USA, Inc., 773 F. App’x 373 (9th Cir. 2019) .................... 9

                                                                       2 Newman v. OneWest Bank, FSB, 2010 WL 797188 (C.D. Cal. Mar. 5, 2010) ........... 4

                                                                       3 Nicholson v. City of Los Angeles, 935 F.3d 685 (9th Cir. 2019) ................................. 8

                                                                       4 Sollberger v. Wachovia Securities LLC, 2010 WL 2674456 (C.D. Cal. June 30,
                                                                                     2010) .................................................................................................................. 5
                                                                       5
                                                                            Spindler v. California, 2020 WL 2559442 (C.D. Cal. Jan. 20, 2020)......................... 5
                                                                       6
                                                                            Stanislaus Food Products Co. v. USS-POSCO Industries, 2010 WL 3521979 (E.D.
                                                                       7          Cal. Sept. 3, 2010) ............................................................................................. 5
                                                                       8 Summers v. Earth Island Inst., 555 U.S. 488 (2009) ................................................... 8

                                                                       9 Taghadomi v. United States, 401 F.3d 1080 (9th Cir. 2005) ...................................... 3

                                                                      10 Tatum v. City and County of S.F., 441 F.3d 1090 (9th Cir. 2006) .............................. 7
MALTZMAN & PARTNERS




                                                                      11 ThinkBronze, LLC v. Wise Unicorn Ind. Ltd., 2013 WL 12120260 (C.D. Cal. Feb. 7,
                                                                                     2013) .................................................................................................................. 4
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                      12
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                            Wilkinson v. Carnival Cruise Lines, Inc., 920 F.2d 1560 (11th Cir. 1991) ................ 3
                                                                      13
                                   ENCINITAS, CA 92024




                                                                            Williams v. United States, 711 F.2d 893 (9th Cir.1983) ............................................. 3
                                                                      14

                                                                      15                                                              Statutes

                                                                      16 46 U.S.C.A. §30302 ..................................................................................................... 6

                                                                      17                                                                Rules
                                                                      18 Fed R Civ Pro 8(a) ............................................................................................... 1, 3, 4

                                                                      19 Fed. Rule Civ Pro 12(b)(1) .......................................................................................... 8

                                                                      20 Fed. Rule Civ Pro 12(b)(6) .......................................................................................... 2

                                                                      21 L.R. 7-3 ........................................................................................................................ 1

                                                                      22
                                                                                                                                        Codes
                                                                      23
                                                                            Cal. Civ. Proc. §377.32 ................................................................................................ 7
                                                                      24

                                                                      25

                                                                      26
                                                                      27

                                                                      28

                                                                                                                                           iii
                                                                            DEFENDANT’S MOTION TO DISMISS                                                                      2:20-CV-04727-RGK-SK
                                                             Case 2:20-cv-04727-RGK-SK Document 25-1 Filed 07/10/20 Page 5 of 14 Page ID #:139



                                                                       1         Defendant, PRINCESS CRUISE LINES, LTD. (“PRINCESS”) hereby files
                                                                       2 this Motion to Dismiss the Complaint filed by Plaintiffs herein. For the reasons set

                                                                       3 forth below, Plaintiffs’ Complaint should be dismissed. This motion is made

                                                                       4 following several conferences of counsel pursuant to L.R. 7-3 which took place on

                                                                       5 June 9, 2020 and July 9, 2020.

                                                                       6 I.      INTRODUCTION
                                                                       7         Plaintiffs Eva Yuk Wah Ma Wong (hereafter “Eva Wong”), the Estate of
                                                                       8 Ronald Wong, and their son Benjamin Wong bring a maritime tort case relating to

                                                                       9 Eva and Ronald Wong’s cruise aboard the Grand Princess beginning on February

                                                                      10 21, 2020. (Compl. ¶ 2.) Decedent Ronald Wong is alleged to have died as a result of
MALTZMAN & PARTNERS




                                                                      11 contracting COVID-19. (Compl. ¶92.) The Complaint contains a negligence count
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                      12 and survivor cause of action. Plaintiffs name PRINCESS CRUISE LINES, LTD.
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13 (hereafter “PRINCESS”) and CARNIVAL CORPORATION & PLC (hereafter
                                   ENCINITAS, CA 92024




                                                                      14 “CARNIVAL”) as Defendants. Plaintiffs allege “PRINCESS and CARNIVAL

                                                                      15 advertised, marketed, sold, and profited (directly or indirectly) from, and controlled

                                                                      16 and operated the cruise ship Grand Princess,” and that “Defendants, and/or each of

                                                                      17 them, disregarded … crucial information” (Compl. ¶¶ 15, 48.)

                                                                      18         The Complaint against PRINCESS should be dismissed for the following
                                                                      19 reasons: First, in violation of the pleading standards of Federal Rule of Civil

                                                                      20 Procedure 8(a), Plaintiffs improperly lump PRINCESS and CARNIVAL together as

                                                                      21 a single entity, referring to them throughout the Complaint simply as “Defendants.”

                                                                      22 Plaintiffs improperly ascribe all the alleged duties and all the alleged breaches to all

                                                                      23 the parties under the generalized rubric of “Defendants” without distinguishing

                                                                      24 among the separate entities who owes what duties or who is alleged to have

                                                                      25 committed which purported act or omission. This defect is more than a semantic one

                                                                      26 and makes it impossible for each Defendant to determine which allegations are
                                                                      27 alleged against it versus the other Defendants. Additionally, Plaintiffs’ Complaint is

                                                                      28 an impermissible shotgun pleading that runs afoul of Rule 8’s pleading requirement.

                                                                                                                     1
                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-04727-RGK-SK
                                                             Case 2:20-cv-04727-RGK-SK Document 25-1 Filed 07/10/20 Page 6 of 14 Page ID #:140



                                                                       1 This independent basis for dismissal deprives Defendants of knowing exactly what

                                                                       2 they are accused of doing wrong.

                                                                       3           Second, Plaintiffs have failed to plead sufficient facts to establish standing to
                                                                       4 bring a death claim under either the Death on The High Seas Act (“DOHSA”) or

                                                                       5 California law. Plaintiffs have pled no fact to establish that Eva Wong or Benjamin

                                                                       6 Wong have been appointed the personal representative of the Estate of Ronald

                                                                       7 Wong, and have failed to attach the declaration required pursuant to California law.

                                                                       8           Finally, Plaintiffs also lack standing to seek an injunction that would require
                                                                       9 PRINCESS to take certain actions going forward, as there is no plausible allegation

                                                                      10 that these Plaintiffs will return to take another cruise, let alone that any of
MALTZMAN & PARTNERS




                                                                      11 Defendants’ future acts will cause them injury. As set forth below, the Court should
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                      12 dismiss the Complaint and Plaintiffs’ claims against PRINCESS.
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13 II.       LEGAL STANDARD
                                   ENCINITAS, CA 92024




                                                                      14           To survive a Rule 12(b)(6) motion, a complaint must allege “enough facts to
                                                                      15 state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550

                                                                      16 U.S. 544, 570 (2007). “Factual allegations must be enough to raise a right to relief

                                                                      17 above the speculative level, … on the assumption that all the allegations in the

                                                                      18 complaint are true (even if doubtful in fact).” Id. at 555 (citations omitted). “The

                                                                      19 plausibility standard “asks for more than a sheer possibility that a defendant has

                                                                      20 acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A pleading that

                                                                      21 offers labels and conclusions or a formulaic recitation of the elements of a cause of

                                                                      22 action will not do.” Id.

                                                                      23 III.      MEMORANDUM OF LAW
                                                                      24         A. Federal Maritime Law Applies to Plaintiffs’ Claims
                                                                      25           As Plaintiffs acknowledge by invoking this Court’s Admiralty jurisdiction,
                                                                      26 Federal maritime law applies to Plaintiffs’ claims.1 (Compl. ¶ 19.) Maritime law
                                                                      27

                                                                      28   1
                                                                               Plaintiffs’ Passage Contract applicable to their voyage similarly invokes maritime
                                                                                                                       2
                                                                           DEFENDANT’S MOTION TO DISMISS                                      2:20-CV-04727-RGK-SK
                                                             Case 2:20-cv-04727-RGK-SK Document 25-1 Filed 07/10/20 Page 7 of 14 Page ID #:141



                                                                       1 applies when “(1) the alleged wrong occurred on or over navigable waters, and (2)

                                                                       2 the wrong bears a significant relationship to traditional maritime activity.” Williams

                                                                       3 v. United States, 711 F.2d 893, 896 (9th Cir.1983). “‘[V]irtually every activity

                                                                       4 involving a vessel on navigable waters” is a “traditional maritime activity sufficient

                                                                       5 to invoke maritime jurisdiction.” See Taghadomi v. United States, 401 F.3d 1080,

                                                                       6 1087 (9th Cir. 2005) ((quoting Jerome B. Grubart, Inc. v. Great Lakes Dredge &

                                                                       7 Dock Co., 513 U.S. 527, 542 (1995))); Wilkinson v. Carnival Cruise Lines, Inc., 920

                                                                       8 F.2d 1560, 1654 n. 10 (11th Cir. 1991) (“In maritime tort cases such as this one, in

                                                                       9 which injury occurs aboard a … ship upon navigable waters, federal maritime law

                                                                      10 governs the substantive legal issues.”).
MALTZMAN & PARTNERS




                                                                      11       B. The Complaint Violates Rule 8(a)
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                      12         As currently articulated, Plaintiffs’ Complaint makes it impossible for
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13 PRINCESS to determine which claims are directed to PRINCESS, and which acts or
                                   ENCINITAS, CA 92024




                                                                      14 omissions Plaintiffs ascribe to CARNIVAL. Despite admitting that PRINCESS and

                                                                      15 CARNIVAL are separate corporate entities (Compl. ¶¶ 13-14), Plaintiffs refer to

                                                                      16 them     interchangeably as “Defendants” throughout the Complaint, without
                                                                      17 differentiating what actions were taken by which entity.2 For example, “Defendants,

                                                                      18 and/or each of them, disregarded … crucial information” (Compl. ¶ 48), or their

                                                                      19 bare statement that “Carnival and Princess, and/or each of them, participate in the

                                                                      20 marketplace as common carriers” (id. ¶ 88). No particular “Defendant” is ever

                                                                      21 specified for any claimed act. Plaintiffs’ misuse of the euphemism “Defendants” is a

                                                                      22 violation of the federal pleading rules set forth in in Bell Atlantic Corp. v. Twombly,

                                                                      23 550 U.S. 544 (2007) and Ashcroft v. Iqbal, 129 S. Ct. 1937 (2009). See also e.g.,

                                                                      24

                                                                      25 law. See, https://www.princess.com/legal/passage_contract/plc.html at Section 1.

                                                                      26   Plaintiffs preface these generalized allegations with a boilerplate statement that “at
                                                                           2

                                                                         all times hereto, PRINCESS and CARNIVAL advertised, marketed, sold, and
                                                                      27
                                                                         profited (directly or indirectly) from, and controlled and operated the cruise ship
                                                                      28 Grand Princess.” (Compl. ¶ 15.)

                                                                                                                     3
                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-04727-RGK-SK
                                                             Case 2:20-cv-04727-RGK-SK Document 25-1 Filed 07/10/20 Page 8 of 14 Page ID #:142



                                                                       1 Makaron v. GE Sec. Mfg., Inc., 2014 WL 12614468, at *3 (C.D. Cal. July 31, 2014)

                                                                       2 (“Undifferentiated pleading against multiple defendants is improper.”)

                                                                       3         This practice of “lumping” together the actions of all defendants violates Rule
                                                                       4 8 of the Federal Rules of Civil Procedure. Newman v. OneWest Bank, FSB, 2010

                                                                       5 WL 797188, at *5 (C.D. Cal. Mar. 5, 2010) (“Plaintiffs’ allegations fail to meet the

                                                                       6 basic pleading requirements of Rule 8(a)” when “they lump all of the defendants

                                                                       7 together.”); Markman v. Leoni, 2010 WL 8275829, at *9 (C.D. Cal. Nov. 3, 2010),

                                                                       8 report and recommendation adopted, 2012 WL 83721 (C.D. Cal. Jan. 5, 2012)

                                                                       9 (“Plaintiff may not simply lump defendants together but must make specific factual

                                                                      10 allegations as to each.”); DeSisto College, Inc. v. Line, 888 F.2d 755, 761 (11th Cir.
MALTZMAN & PARTNERS




                                                                      11 1989). A complaint runs afoul of Rule 8 by “lump[ing] all the defendants together
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                      12 and fail[s] to distinguish their conduct because such allegations fail to give adequate
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13 notice to the defendants as to what they did wrong.” Appalachian Enters., Inc. v.
                                   ENCINITAS, CA 92024




                                                                      14 ePayment Solutions, Ltd., 2004 WL 2813121, at *7 (S.D.N.Y. Dec. 8, 2004).

                                                                      15         Plaintiffs fail to articulate what alleged acts or duties are attributable to
                                                                      16 PRINCESS and what alleged acts or duties are attributable to CARNIVAL. See

                                                                      17 Petrovic     v.   Princess   Cruise    Lines,    Ltd.,   Case    No.:   12-21588-Civ-
                                                                      18 Altonaga/Simonton, at *9 (S.D. Fla. July 20, 2012) (“Plaintiff’s ‘grouping’ of

                                                                      19 Defendants in the Complaint creates confusion ... it is not for the Court or the parties

                                                                      20 to ‘speculate as to the identity of the Defendants these allegations are levied against

                                                                      21 as the burden rests on the plaintiff[]’”). When faced with such a Complaint, “district

                                                                      22 courts in California routinely hold that undifferentiated pleading against multiple

                                                                      23 defendants does not meet Rule 8 pleading requirements.” ThinkBronze, LLC v. Wise

                                                                      24 Unicorn Ind. Ltd., 2013 WL 12120260, at *10 n.59 (C.D. Cal. Feb. 7, 2013). Courts

                                                                      25 have granted dismissal, for example, when a “complaint persistently made

                                                                      26 allegations against ‘Defendant’ without distinguishing which of the two defendants
                                                                      27 the allegation is against.” Estrada v. Caliber Home Loans, Inc., 172 F. Supp. 3d

                                                                      28 1108, 1117 (C.D. Cal. 2016); see also, e.g., Dunson v. Cordis Corp., 2016 WL

                                                                                                                     4
                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-04727-RGK-SK
                                                             Case 2:20-cv-04727-RGK-SK Document 25-1 Filed 07/10/20 Page 9 of 14 Page ID #:143



                                                                       1 3913666, at *3 (N.D. Cal. July 20, 2016) (complaint “facially insufficient” because

                                                                       2 “Plaintiffs lump defendants Cordis and Confluent in an undifferentiated group for

                                                                       3 each cause of action”); Fagbohunge v. Caltrans, 2014 WL 644008, at *3 n.4 (N.D.

                                                                       4 Cal. Feb. 19, 2014) (a “general allegation regarding ‘defendants’ is … insufficient

                                                                       5 on its face because it does not identify which specific defendants …. Plaintiff’s

                                                                       6 complaint must differentiate between each of the defendants and clearly state the

                                                                       7 factual basis for each cause of action as to each specific defendant.”).

                                                                       8         Plaintiffs’ Complaint additionally violates Rule 8 by incorporating, in each of
                                                                       9 their claims, all of the previous paragraphs in the entire Complaint. (See Compl.

                                                                      10 ¶100). This practice of “shotgun” pleading has similarly been rejected. See Spindler
MALTZMAN & PARTNERS




                                                                      11 v. California, 2020 WL 2559442, at *5 (C.D. Cal. Jan. 20, 2020); Stanislaus Food
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                      12 Products Co. v. USS-POSCO Industries, 2010 WL 3521979, at *31 n.16 (E.D. Cal.
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13 Sept. 3, 2010) (“Allegations, however, which incorporate each preceding paragraph,
                                   ENCINITAS, CA 92024




                                                                      14 regardless of relevancy, are not permitted.”); Destfino v. Kennedy, 2008 WL

                                                                      15 4810770, at *3 (E.D. Cal. Nov. 3, 2008), aff'd, 630 F.3d 952 (9th Cir. 2011) (“This

                                                                      16 practice [of wholesale incorporation of prior allegations] has been harshly criticized

                                                                      17 as a form of ‘shotgun pleading’ which violates Rule 8’s requirement of a ‘short and

                                                                      18 plain statement’ and interferes with the court’s ability to administer justice.”);

                                                                      19 Sollberger v. Wachovia Securities LLC, 2010 WL 2674456, at *4-5 (C.D. Cal. June

                                                                      20 30, 2010) (shotgun pleading whereby each count incorporates every antecedent

                                                                      21 allegation by reference “deprives Defendants of knowing exactly what they are

                                                                      22 accused of doing wrong,” and “alone warrants dismissal”). “The Court has

                                                                      23 recognized that allowing shotgun pleadings would lead to many negative

                                                                      24 consequences.” See Sollberger, 2010 WL 2674456, at *4; see also Mason v. County

                                                                      25 of Orange, 251 F.R.D. 562, 563–64 (C.D.Cal.2008) (quoting Anderson v. District

                                                                      26 Board of Trustees, 77 F.3d 364, 366–67 (11th Cir.1996)) (“[E]xperience teaches
                                                                      27 that, unless cases are pled clearly and precisely, issues are not joined, discovery is

                                                                      28 not controlled, the trial court's docket becomes unmanageable, the litigants suffer,

                                                                                                                    5
                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-04727-RGK-SK
                                                      Case 2:20-cv-04727-RGK-SK Document 25-1 Filed 07/10/20 Page 10 of 14 Page ID #:144



                                                                       1 and society loses confidence in the court's ability to administer justice.”). Here

                                                                       2 Plaintiffs’ incorporation of all preceding paragraphs and lumping of all Defendants

                                                                       3 violates Rule 8’s pleading requirements and therefore warrants dismissal.

                                                                       4      C. Plaintiffs Have Not Alleged Sufficient Facts to Establish Standing to
                                                                       5         Bring a Wrongful Death Claim

                                                                       6         Plaintiffs have failed to plead the required facts to establish standing for a
                                                                       7 wrongful death claim under any legal schema. Plaintiffs have not pled sufficient

                                                                       8 facts to establish that Eva Wong or Benjamin Wong were appointed the personal

                                                                       9 representative of the Estate of Ronald Wong, as required by DOHSA and have

                                                                      10 failed to attach the documents required by California law.
                                                                                 DOHSA provides that only “the personal representative of the Decedent may
MALTZMAN & PARTNERS




                                                                      11
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                      12 bring a civil action in admiralty against the person or vessel responsible,” and that
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13 such action “shall be for the exclusive benefit of the Decedent’s spouse, parent,
                                   ENCINITAS, CA 92024




                                                                      14 child, or dependent relative.” 46 U.S.C.A. §30302. “By authorizing only certain

                                                                      15 surviving relatives to recover damages, and by limiting damages to the pecuniary

                                                                      16 losses sustained by those relatives, Congress provided the exclusive recovery for

                                                                      17 deaths that occur on the high seas.” Helman v. Alcoa Global Fasteners, Inc., 843 F.

                                                                      18 Supp. 2d 1038, 1041 (C.D. Cal. 2011) (internal citations omitted); See also Bodden

                                                                      19 v. American Offshore, Inc., 681 F.2d 319, 329 (5th Cir.1982); Dooley v. Korean Air

                                                                      20 Lines Co., Ltd., 524 U.S. 116, 123, 118 S.Ct. 1890, 141 L.Ed.2d 102 (1998). A

                                                                      21 “personal representative is by definition a court-appointed executor or administrator

                                                                      22 of an estate, not merely an heir.” Helman v. Alcoa Global Fasteners, Inc., 843 F.

                                                                      23 Supp. 2d 1038, 1042 (C.D. Cal. 2011) (internal citations and quotations omitted). In

                                                                      24 Helman, the court deemed plaintiffs who alleged standing as “individuals,” as

                                                                      25 “successors-in-interest” and through their “guardian ad litem” lacked standing to

                                                                      26 bring    DOHSA      claims. Courts     have uniformly     recognized, a “personal
                                                                      27 representative” is an individual “empowered by law to administer the decedent’s

                                                                      28 estate.” In re Air Crash Disaster Off Coast of Nantucket Island, Massachusetts on

                                                                                                                    6
                                                                           DEFENDANT’S MOTION TO DISMISS                                  2:20-CV-04727-RGK-SK
                                                      Case 2:20-cv-04727-RGK-SK Document 25-1 Filed 07/10/20 Page 11 of 14 Page ID #:145



                                                                       1 October 31, 1999, No. MD-00-1344 (BMC), 2010 WL 1221401, *5 (E.D.N.Y. Mar.

                                                                       2 29, 2010); see also Alcabasa v. Korean Air Lines Co., Ltd., 62 F.3d 404, 407 (D.C.

                                                                       3 Cir. 1995) (“[A] ‘personal representative’ is by definition a court-appointed

                                                                       4 executor or administrator of an estate, not merely an heir,” citing Brigg v. Walker,

                                                                       5 171 U.S. 466 (1898)).

                                                                       6         Here, Plaintiffs have not alleged that either Eva or Benjamin Wong have been
                                                                       7 appointed the personal representative of the Estate of Ronald Wong.3 Plaintiffs pled

                                                                       8 that both Eva and Benjamin Wong are “a proper personal representative and heir,”

                                                                       9 yet they conspicuously avoid pleading that either has been appointed as the Personal

                                                                      10 Representative of the Estate of Ronald Wong. (Compl. ¶¶ 10-12.) Eva Wong alleges
MALTZMAN & PARTNERS




                                                                      11 to have “served as representative of the ESTATE OF MR. WONG,” however this
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                      12 too falls short of alleging that Eva Wong is or has been appointed the Personal
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13 Representative of the Estate of Ronald Wong. (Compl. ¶ 101.) As neither Eva nor
                                   ENCINITAS, CA 92024




                                                                      14 Benjamin Wong allege they have been appointed as the Personal Representative of

                                                                      15 the Estate of Ronald Wong, there is not enough to support standing for the purpose

                                                                      16 of bringing a DOHSA claim on behalf of the Estate of Ronald Wong.

                                                                      17         Standing is also lacking even if DOHSA does not apply. “Where there is no
                                                                      18 personal representative for the estate, the decedent’s ‘successor in interest’ may

                                                                      19 prosecute the survival action if the person purporting to act as successor in interest

                                                                      20 satisfies the requirements of California law.” Tatum v. City and County of S.F., 441

                                                                      21 F.3d 1090, 1094, n.2 (9th Cir. 2006). To satisfy California’s requirements, a plaintiff

                                                                      22 must submit an affidavit or declaration attesting to the fact that they are the

                                                                      23 decedent’s successor in interest and attach the decedent’s death certificate. Cal. Civ.

                                                                      24 Proc. §377.32; see also Almarou v. Robbins, 2019 WL 7945592, at *2 (C.D. Cal.

                                                                      25
                                                                           3
                                                                      26   While the styling of the case suggests that both Eva and Benjamin Wong are the
                                                                         personal representatives of the Estate of Ronald Wong, Plaintiffs have not alleged
                                                                      27
                                                                         that either Eva or Benjamin Wong have been appointed the Personal Representative
                                                                      28 of the Estate of Ronald Wong.

                                                                                                                    7
                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-04727-RGK-SK
                                                      Case 2:20-cv-04727-RGK-SK Document 25-1 Filed 07/10/20 Page 12 of 14 Page ID #:146



                                                                       1 Nov. 5, 2019). A plaintiff bears the burden of demonstrating that they meet the

                                                                       2 requirements for bringing a survival action. Byrd v. Guess, 137 F.3d 1126, 1131 (9th

                                                                       3 Cir. 1998), overruled on other grounds by Nicholson v. City of Los Angeles, 935

                                                                       4 F.3d 685, 696 (9th Cir. 2019); see also Almarou, 2019 WL 7945592, at *2.

                                                                       5         The Complaint does not incorporate (and Plaintiffs have not submitted) the
                                                                       6 required affidavits or declarations delineated above. Plaintiffs have merely alleged

                                                                       7 that Eva Wong “is authorized as successor in interest with respect to his interest in

                                                                       8 the property that was damaged, lost, or destroyed...” (Compl. ¶ 101). Defendant and

                                                                       9 the Court are left to speculate who “authorized” Eva Wong as a successor in interest

                                                                      10 for the limited purposes delineated in the Complaint. The Complaint thus does not
MALTZMAN & PARTNERS




                                                                      11 allege sufficient facts to establish standing to bring a wrongful death claim on behalf
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                      12 of Ronald Wong. For the foregoing reasons, the claims on behalf of Ronald Wong’s
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13 Estate should be dismissed without prejudice or stayed with leave to amend once
                                   ENCINITAS, CA 92024




                                                                      14 Plaintiffs can establish that either Eva Wong, Benjamin Wong, or someone else has

                                                                      15 standing to bring such claims.

                                                                      16      D. Plaintiffs Lack Standing to Seek Injunctive Relief
                                                                      17         Plaintiffs’ request for injunctive relief must be dismissed under Rule 12(b)(1)
                                                                      18 because Plaintiffs lack Article III standing to seek prospective relief. Plaintiffs bear

                                                                      19 the burden of establishing standing to invoke federal subject matter jurisdiction. See

                                                                      20 D’Lil v. Best Western Encina Lodge & Suites, 538 F.3d 1031, 1036 (9th Cir. 2008).

                                                                      21 To satisfy Article III’s “case or controversy” requirement, a plaintiff must establish

                                                                      22 (1) an injury-in-fact that is (2) fairly traceable to the challenged action of the

                                                                      23 defendant and (3) redressable by a favorable ruling from the court. Lujan v. Defs. of

                                                                      24 Wildlife, 504 U.S. 555, 560 (1992). Critically, a plaintiff must show “that he has

                                                                      25 standing for each type of relief sought.” Summers v. Earth Island Inst., 555 U.S.

                                                                      26 488, 493 (2009). For injunctive relief—a prospective remedy—the plaintiff must
                                                                      27 face a threat of future injury. Id. That threat must be “actual and imminent, not

                                                                      28 conjectural or hypothetical.” Id. In other words, the “threatened injury must be

                                                                                                                     8
                                                                           DEFENDANT’S MOTION TO DISMISS                                    2:20-CV-04727-RGK-SK
                                                      Case 2:20-cv-04727-RGK-SK Document 25-1 Filed 07/10/20 Page 13 of 14 Page ID #:147



                                                                       1 certainly impending to constitute injury in fact” and “allegations of possible future

                                                                       2 injury are not sufficient.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013)

                                                                       3 (emphasis added). And it must be true that “injunctive relief will vindicate the rights

                                                                       4 of the particular plaintiff,” not merely “the rights of third parties” who in the future

                                                                       5 may find themselves in a position similar to the plaintiff. Chapman v. Pier 1 Imports

                                                                       6 (U.S.) Inc., 631 F.3d 939, 949 (9th Cir. 2011).

                                                                       7         Under these principles, Plaintiffs have no standing to obtain injunctive relief.
                                                                       8 All four components of the injunction that Plaintiffs seek relate to Defendants’

                                                                       9 future business conduct. However, being a past customer does not provide standing

                                                                      10 to enjoin a business’s conduct going forward. Rather, Plaintiffs would need to
MALTZMAN & PARTNERS




                                                                      11 plausibly allege not only that one of them will (not simply might) travel on a vessel
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                      12 operated by one of the Defendants in the future, but also that, when they do so,
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13 Defendants’ conduct would be “certain[]” to cause them injury. Clapper, 568 U.S.
                                   ENCINITAS, CA 92024




                                                                      14 at 409. Courts deny standing even when a plaintiff alleges an “intent to purchase”

                                                                      15 from the defendant in the future; “profession of an intent … is simply not enough.”

                                                                      16 Levay Brown v. AARP, Inc., 2018 WL 5794456, at *3 (C.D. Cal. Nov. 2, 2018)

                                                                      17 (quoting Lujan, 504 U.S. at 565). Likewise, a plaintiff’s “‘some day’ intentions—

                                                                      18 without any description of concrete plans or indeed any specification of when the

                                                                      19 some day will be—do not support a finding of … ‘actual or imminent’ injury.’” Id.

                                                                      20         The Complaint does not even allege a “some day intention[],” let alone future
                                                                      21 injury that is certainly impending. There is no allegation that Plaintiffs intend to

                                                                      22 travel on a cruise ship owned or operated by any of the Defendants. Indeed, given

                                                                      23 the experiences that Plaintiffs allege in the Complaint, any such allegation would be

                                                                      24 utterly implausible. See, e.g., Min Sook Shin v. Umeken USA, Inc., 773 F. App’x

                                                                      25 373, 375 (9th Cir. 2019) (plaintiff lacked standing to enjoin deceptive advertising

                                                                      26 for supplements he alleged were “worthless). Thus even if Plaintiffs plausibly
                                                                      27 alleged that they are certain to take another cruise on a vessel owned or operated by

                                                                      28 any of the Defendants, there is no plausible allegation Defendants would act

                                                                                                                     9
                                                                           DEFENDANT’S MOTION TO DISMISS                                    2:20-CV-04727-RGK-SK
                                                      Case 2:20-cv-04727-RGK-SK Document 25-1 Filed 07/10/20 Page 14 of 14 Page ID #:148



                                                                       1 negligently so as to harm Plaintiffs in the way they allege to have been harmed in

                                                                       2 the past. Plaintiffs’ request for injunctive relief should be dismissed.

                                                                       3         V.    CONCLUSION
                                                                       4         For the foregoing reasons, Defendant requests that the Court grant its motion
                                                                       5 and dismiss this case4.

                                                                       6

                                                                       7
                                                                           DATED: July 10, 2020                   MALTZMAN & PARTNERS
                                                                       8

                                                                       9
                                                                                                           By:   s/ Jeffrey B. Maltzman
                                                                      10                                         Jeffrey B. Maltzman
                                                                                                                 Rafaela P. Castells
MALTZMAN & PARTNERS




                                                                      11
                                                                                                                 Edgar R. Nield
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                      12                                         Gabrielle De Santis Nield
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13                                         Attorneys for Defendant,
                                   ENCINITAS, CA 92024




                                                                                                                 Princess Cruise Lines Ltd.
                                                                      14

                                                                      15

                                                                      16

                                                                      17

                                                                      18

                                                                      19

                                                                      20

                                                                      21

                                                                      22

                                                                      23

                                                                      24

                                                                      25

                                                                      26
                                                                      27   4Defendant reserves the right to address Plaintiffs’ claim for punitive damages at a
                                                                      28 later time.

                                                                                                                     10
                                                                           DEFENDANT’S MOTION TO DISMISS                                    2:20-CV-04727-RGK-SK
